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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO.: 14-CV-24827-UU


 TAL HILSON,

                   Plaintiff,

 vs.

 SSC330260, L.L.C,

             Defendant.
 ________________________/
                                        NOTICE OF SETTLEMENT

       Plaintiff, TAL HILSON, by and through undersigned counsel, hereby notifies the Court that the

 parties are in the process of executing the Settlement Agreement and request twenty (20) days to finalize

 the settlement and file for dismissal of this matter. The Parties request that the Court stay all matters and

 pending deadlines in this Action and grant the Parties twenty (20) days to finalize their written settlement

 agreement and to submit the appropriate notices and/or motions to the Court regarding dismissal of the

 Action.

                                       CERTIFICATE OF SERVICE

           I certify that April 23, 2015, I electronically filed the foregoing document with the Clerk of the

 Court using CM/ECF. I also certify that the foregoing document is being served this day on counsel of

 record in this action via email and via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                                    Respectfully submitted,

                                                                    MARK D. COHEN, P.A.
                                                                    Co-Counsel for Plaintiff
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                                                                    /s/ Mark D. Cohen
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